                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


ROBERT McCANN,                                              Civil File No. 09-447-CV-W-SOW

               Plaintiff,

vs.                                                            STIPULATION OF DISMISSAL
                                                                        WITH PREJUDICE
PROGRESSIVE FINANCIAL SERVICES, INC.,

               Defendant.



       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), the plaintiff Robert McCann, and the defendant,

Progressive Financial Services, Inc. hereby stipulate to the dismissal of the above-styled case and

any claims that were raised or that could have been raised in this action, with prejudice, each side

to bear its own costs and attorneys fees.

                                              Respectfully submitted,

Dated: 09-23-09________                       By __/s/J. Mark Meinhardt
                                              J. Mark Meinhardt, #53501
                                              4707 College Boulevard, Suite 100
                                              Leawood, KS 66211
                                              (913) 451-9797
                                              (913) 451-6163 (fax)
                                              ATTORNEY FOR PLAINTIFF


Dated: 09-24-09        ________               By __/s/Joshua C. Dickinson___________
                                              Joshua C. Dickinson, #51446
                                              Benjamin T. Clark, #53155
                                              1000 Walnut, Suite 1400
                                              Kansas City, MO 64106
                                              (816) 474-8100
                                              (816) 474-3216 (fax)
                                              ATTORNEY FOR DEFENDANT




          Case 4:09-cv-00447-SOW Document 8 Filed 09/25/09 Page 1 of 1
